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é LC. Fronnae OO ,
erie Ig 476,
woo
Cummect
™, stage
) Noes Rhodes Homes Arizona
gown 2215 Hualapai Mountain Road, Suite H
Mor : Kingman, Arizona 86401
{omrracts Phone: (928) 718-2210
Fax: (928) 718-1322
Consultant Agreement e
Date: «7/22/2005»
To: «Stanley Consultants, fine.»
Project: «Golden Valley South - Phase 1 (Pods 4,2, & 3)800 Lots»
Type of Work: «Civil Engineering & Construction Staking»
£ (ize Contract: *
; .
° Attached you will find your Consultant Agreement for the project stated above.
Please sign and initial all pages of both contracts as indicated and retum bath
contracts to our office as soon as possible. <A fully executed copy will be
Teturnad to you. :
J) . * We look forward to a prosperous business relationship with your company. .
Sincerely, :
Rhodes Homes Arizona .
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Enclosures P
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, } Consultant Agreement

This Agreement made this «22» day of «July», «2005», by and between __Rhodes Homes
Arizona, hereinafter sometimes referred to as “Client, and «Stanley Consultants, Inc.», :
sometimes hereinafter referred to as “Consultant”, provides as follows: — i

Date: o7/21/2005»
Project: «Golden Vallay South - Phase 1 (Pods 7,2, & 3} 800 Lots
(hereinafter sometimes referred to as “The Project") t

804,000.00 _

RECITALS:

A. Cllent Js the developer of The Project. Client Is entering Into this Agreement with
Consultant to perform the professional services described within the Scope of
_ Services, attached as Exhibit “A” to this Agreement.

B. Consultant ts qualified to provide the professional services agreed to within this -
Agreement as requested by the Client. 'f Consultant is not qualified to perform tha -
services Indicated hereln for completing the work, Consultant will Immediately
notify Client of such in writing. :

G Consuttant shall matntain the schedule as mutually agreed upon unless outside 2!
clrcumstances such as governmental reviews, natural disasters, or other unknown .
or uncontrollable influences occur. The client shall be notifiad Immediately of any

} changes to the schedule,

WITNESSETH:

IN CONSIDERATION of the mutual promises and covenants hereinafter set forth, the Cent and
the Consultant agree as follows:

: 1. Services: Consultant shall perform the professtonal services described In Exhibit “A"
i and elsewhere throughout this Agreement, Exhibit "A" is attached hereto and

incorporated herein by reference (the "Scope of Services"). .. i

_ : 2. Nop-Exclusivity: This Agreement shail not. act as an exclusive contract limiting the i
Client to use only Consultant at the Project.

3. Standards: Ail services shall ba performed by the Consultant in a manner consistent
with that level of care and still ordinarily exercised by reputable members of the
profession who are currently practicing in the same focatity under similar conditions. i

4. Government Regulations: Consultant shafl comply with all known laws, statutes,
ordinances, standards, rules and regulations, policies, jicansing requirements, iesurence
requirements, practices, and procedures of federal, state, municipal, artd special district
governmental authorities which are applicable to the services covered under this
Agreement.

5 Materiats: All necessary labor, licanses, aiid any other lems necassary o complete the
services as oullinad in Exhibit “A* (hereinafter collectively referred to as the "Materlals"),
must be furnished by the Consultant and shail be a part of the contract price unless ft Is
spectically excluded In Exhibit ‘A’,

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«Consultants “9 i .

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Reproduction of sit {6} copies of documents needed for the preducilon, design, and
submittal of plans and maps are included In the contract price. in addition, ane copy of !
each document, map, or plan will ba provided to the Cilent during the preliminary stages,
prior te the first submittal, after each additional submittal, and Immediataly after approval
and recordation. ‘The total cost of these coples Is Included in the overall prica of this
contract

Any additional reproduction of plans and documents requested by Client which are nat
included In tha contract price shall be directed by Client to Clant’s reproduction company
of cheice at Client's expense in the event changes are requested by the Client, an
additonal fee shall be negotiated for those copies at the instance of the Consultant at the
time of request .

6. Licensing Requiraments: As a condition of this Agreement, Consultant shall maintain
In effect at af times during the term of this Agreement a vaild and appropriate license
and/or registration for the Stata of Arizana, or any other governmental or administrative

. body as may be applicable. Coples of current applicable Ecenses shall be submitted to
Client upon request. Furthermore, Consultant shall ensure that each of its amployees
whe ate subject to licensing and/or registration maintain a current and valid license
and/or ragistration white performing werk on the project. Consultant will notice Client fn
writing Immediately of any changes to Consultant's registration lcense status.

a Key Parsonnol:

a. Awacd of this contract was based upon a review of the personal qualifications
proposed by the Cenaultant. This includes, but is nol limited to, Consultant's current
organizatienal chart, the described internal schedule of processing for the recordallon
of map{s), and the currant Prineipais of the company.

b. The Clant wilt be notified immediately if there is a change in Key Gontact Personne!
"Including the names and qualifications of these individuals :

. cs. Should the individuals originally assigned to Cilent not be able to perform the work,
the Consutlant shall send written notice of any proposed replacement or addition,
including a statement of qualifications, by individual name. Such proposed
replacement or addition must be sent te Cent Immediately.

d. Cilent reserves the right to reject any proposed replacement or additlon and/or to
request additional qualifying docurnentation. .

@. Key personnel designated by Consultant may be subject to an interview with Client to
substanliate the knowledge and experience thal has been represented.

f, Prior ta beginning work, the Consultant will supply Client with a Key Contact
Personnel List to inclide thelr job, tiie, and contact Inforrnation. Consultant will alse
] supply Clisnt wilh a fist of employees authorized to sign contracts and change orders.

8 Consultant's Representations:

a. The Gonsultant shall perform the services outlined in Exhibit “A” In a manner :
consistent with thal tevel of care ordinarily exercised by reputable members of the m
profession currently praciicing in the same Jocality and under similar conditions, Bs
Consultant understands the nature and scope of services and shall perform ail
services as required in this Agreement

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b. Consultant shall altend a weékly'status meeting aceording to Cllent’s requests. Feas
for_weekly meetings shail be included In the lump sum price for the duration indicated

in Exhibit “A”.

!

a. indemmification: Te the fullest extent permitted by law, Consultant shall Indemally and
hold Client harmless from and against any and alt claims, ilabilitles, demands, losses,
actions, causes of action, damages, costs, expenses, fines, and penallias of every
nature, Including but not limited to thase resulting from Injury to persons or property, :
which are caused by Consultant's negiigent act, error, or omission in the performance of :
ihe services under this Agreement or by its breach of this Agreement. Cansuttant shail |
not be responsible to indemnify Client from any liability, claims, judgments, losses or :
demands that ara caused by the negligence of tha Cilent. In the event Client and :
Cansullant ara determined to be Joinily at fault, any Jlablity as between Client and :
‘Consultant shail be allocated between Client and Consultant in accordance with thelr i
proportionate share of such fault

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10. Attorney's Fees; if elther party becomes Involved in litigation arising. out of this i
Agreement or the performance thereof, the court shall award reasonable costs and '
expenses, Including altamey’s fees, to the prevailing petty. in awarding attorney's feas,
the court shal nat be bound by any court fee schedule, but shall, In the interest of Justice,
award tha full amount of costs, expenses, and altomney's fees pald or incurred In good
faith. .

41, ~ Confidentiality of the Consultant: Consultant acknowledges and agrees that

throughout the term of this Agreament, Consultant may oblain information about the eh
i Client or the project which Is highly sensitive and confidential. Except as required by taw Be
i er by a caurt of competent jurisdiction, Consultant agrees not to disclose Client

confidential information to unrelated third partles outside tie scope of the services
without the express written consent of the Cllent. Nothing herein shail ba deemad to 1
prohibl! Consultant from making a disclosure of a violatien of law or of a matter necessary : i
to protect the health or safety of any person. Consulfant will notify Cllent prior to '
releasing any disks or maps provided ta other consultants that are prepared in :
conjunction with any work/services for Client Required coordination with any agancy ,
necessary for the approval or construction ef this project Is hereby granted.

Dy insurance: Consultant shall maintain adequate Insurance coverage at Its own expense
. j al all times during the full term of its services under this Agreement and as otherwise
via required hereunder Insurance covarage must have polley limits not tess than these set
: forth below with insurers licensed to da business in tha State of Arizona and which [s
acceptable fo the Client and under farms cf policies satisfactory to the Glent. There are i
na other requirements contained herein as to types, Iimlts, or Cilent's approval of
insurance. Cllant coverage to be maintained by Consultant ts intended to and shall not In , i
any way or manner limit quality or quantly of the Habllitles and obligations assumed by

Consultant under thls Agreement or otherwise as may be provided by law.

Fhe following Items must be submitted to the Insurance Coordinator of Rhodes Homes
Arizona prior to payment of any invoices or acceptance of any work, Consultant agrees
that It shall not be entifled to such payment unéit such time that the following have been
received by Client:
a. General Liability Insurance Coverage in the amount of $2,000,000 aggregate. ‘The . Ins
Certificate holder's box must show the following names as additionally insured: i

. Rhodes Homes.
“ Rhodes Homes Arizona

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‘ . James M Rhodes, Individually

This Certificate must also have attached an additonal insured endorsement Ina CG
2026 1185, or a CG2037 1001 FORMAT which names the same threes names 2s
additionally insured. The insurance company providing the insurance coverage must
have an AM Best Rating of A+ or belter and must be admitted In the state of Arizona.

The Name of the project must be noted in the Description Box, (We require an
Criginal insurance Certificate for each project.) :

- b. Comprehensive Automobile Liabllity Insurance In the amount of $1,000,000, . ie

c. Stata Industist Insurance Certificate of Workmen's Compensation Insurance.
Cerificate which shows that you are covered. If self-insured, @ certificala showing

that you are covered.

Professional Liability:

Consultant agrees to provide and maintain, al its expense, 4 Professional Liabilay
Insurance Polley of $1,000,000 per claim for a period not less than five (5) years after the |

date of the final completion of the work that is performed in accordance with the services
if commercially available and affordable Consultant shall provide Client with a copy of —
the terms and conditions of the policy providing Professional Liability coverage

. Consultant's Equipment Policy: . |
si Any such insurance policy covering Consultant's or auiside Consultant's or Consultant's :

equipment agalnst loss by physical damage shall Include an endorsement waiving the

Insurer's right of subregation against the Indemmnitles. Such insurance shall be

Consultant's and outside Consulant's and in-house Consultant's sole and complete
. means of recovery for any such loss. Should Consultant or any outside Consultant or In-
3 house Consultant choose to seif-Insure this risk, it Is expressly agreed thet the Consultant
i : and the outside Consultant and In-house Consultant hereby waive any claim for damage
Q . or logs te said equipment in favar in the Indemnities. .

Other Requirements;
Evidence of the insurance coverage required to be maintained by Consultant represented
by Gertificates of Insurance issued by the insurance carrier(s}, must be furnished to tha
Client prior to Consultant starting Its services Certificates of Insurance shall specify the
addifjonal insured status mentioned above as well as the walvers of subrogation. Such
Certificaies of Insurance shall stale that Cllent will be notified in wilting thirty (30) days
prior te cancelation or non-renewal of insurance. Consultant shall provide to Cilent a
certified copy of any and ail applicable Insurance policies prior to requesting or receiving
payment from Cilent and prior to staring work. ‘Timely renewal certificates will be
provided to Cllent as the coverage renews.

Insurance similar to that required of Consultant shail be provided by of on behalf of all.
outside Consuitants and in-house Consultants to cover their operations performed under
this Agreement, Consultant shail be reld responsible for any modifications in these .
insurance requirements as they apply te Consultants. Consultant shall maintaln a
- Certificates of insurance from ail Consultants, enumerating, among other things, the he
waivers In favor of, and instired siatus of, the Indemnites as required herein and make
them available to Client upon request. The term Consultant(s)" shall Include

(i Consultants of any tier.

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. 13. Additlona! Required Documents:
. a. State of Arizona License. Copy of unexpired licanse, if required by law.

"Ne

b. Copy of cutrent unexpired business Ycenses, whichever |s applicable to the
subdivision er job.

‘: 1) Mohave County
z . 2} Clty of Kingman

c. A valid W-9 mast be on file,

14. Use of- Work Product: .

a. Consultant's werk product shall be delivered to Client per a mutually agreed schedule
{n accordance to paragraph 16 of this Agreement and may ba used by Client fer any
purpose connected with the project In accordance with paragraph 16 of this
Agreement Consultant agrees to provide Ciient with the disks containing the work
product of tha Consultant in a formal as agreed upon at the initiation of projecl and to
ihe Client's specifications, Under no circumstances shail transfer of drawings and
other Instruments of service on alectrontc media for use by the Clent be deemed a
sala by the Consultant, and the Consultant makes no warranties, either express or
implied, of Consuitant’s items of worl. : .

b. Documents, including drawings and specifications, which are prepared by Consultant
pursvant to this Agreement are not intended or represented'ta be sullable for use by
Cent or offers other than for thelr originally intended use al the Project. Any use of

i : completed documents other than as originally Intended, without written verification or

: approval by Consultant, will be at Client's sole risk and without liability or legal

exposure to Consultant.

c. Consullant shail nol release any non-public data or work product prepared under this
Agreement to any elher consultant, entity, or private/public organization without the
prior wrltten authorization of Cilent with the exception to those documents that must
be released to public record prior ta approval or recordation,

ms, : 15. Review and Approval of Work:
‘ } a. Client reserves the sight ta have Iba Consullant’s work product reviewed by olher
a . , consullants or by Cllent at its discretion. Consultant shall fully cooperate with the
Client and its agents In review of Its work product. Consultant shall Immediately
provide either appropriate changes or a written response as a result of such outside
review. Additional costs, if any, for such changes and or responses shall be
negotiated prior to making such changes and/or responses. if sald changes are for
value engineering purpesas, sald revisions will be done after the Client has appraved
them on a time and materiais basis. if Client and Consultant are unable to resoive
such dispute, Client and Consultant agree te mutually select an independent party to
seek a resolution through mediation .

b. Pravided the Consullant Is given clear written and spoken directions from the Client,
work ig to conform to the Client's acceptance and internal specifications as they are
provided’ prior to start of work I addition to City and County specifications,
acceptance, and approval. if there is a confilct between the Client's specifications

: and the govaming agency's specifications, the governing agency's specilicalicns

‘ shall prevail. Furthermore, Client requires that on or before 10% of the work is

complete and on a regular basis thereafter, Consultant shalt present Its design to

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4 Client to obtain approval and/ar advice on how to mitigate design discrepancies early
‘ in the process.

c. Consultant’s work shall be in a manner consistent with that level of care and stilt
ordinarily exercised by reputable members of the profession currently practicing in
the same locality under similar condilfons and shall ba deemed complete when It has
been signed, approved, recorded, and accapted by the applicable goveming
agencies, and the approved copies have been presented to Client.

46. Schedule: |f provided for In Consultant's Scope of Services, the Consultant will suppiy
and update a detalled critical productian/design review schedule on a weekly basts for
tracking purposes which includes planned versus actual completion Umeframes for both
entity reviews and Consultant production Consultant shall maintain the schedule as
mutually agreed upon unless outside clcumstances such as governmental reviews,
natural disasters, or other unknown or uncontrollable influences occur. The client shall
be notified immediately of any changes to the schedule. Additlonal fees may be required
for any unforeseeable delays in the project that are outside of tha Consultant's central

e

47. Changes: From time to time, Client may require changes:-In the Scope of Services of the
Consultant to be performed thereunder. Such changes, including any Increase or
decrease in the. amount of the Consultant's compensation, which are mutually agraad
upon by and between Cllent and Consulfant.shall be Incorporated In writtan amendments
or Change Orders to this Agreement end signed by ail partles hereto prior to performing
additional services. Cilent and Consultant may request an amenement of the provisions
of this Agreement; however, oral understandings shail not be binding. To be vaiid, all
such amendments shall be made In writing and signed by all parties herato,

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78. Walvers: No waiver or indulgence of any breach or serles of breaches of this Agreement
shall be deemed or construed as a walver of any other breach of the same er any other
provision hereof, nor siail it affect the anforceabilily of any part of this Agreement. No
walver shall be valid or binding untess executed In writing by the walving party.

| ‘ 15. Termination:

a. The Client may terminate this Agreement at any time by written notice to the
Consultant subject to the payment of all fees and expenses incurred through the
. termination date. Upen such termination, Consultant shall deliver to the Client al
5 plans, drawings, computer disks and the like which were prepared by the Consultant
oo, - in connection wh this Agreement of sald Project. Consultant's plans, drawings and
a . tha fike may be directly or indirectly used by the Client to the extent permitted by law;
provided however, Client hereby agrees to indemnify and hold Consuitant, its
officers, directors, employees, consuliants, and subcontractors harmless from and
| against any and ail claims, Ilabilitles, demands, losses, actions, causes of action,
. damages, costs, expenses, fines, and penaltles of every nature, Including but rot

Hmited to those resuiting from Injury to persons or property

b. This Agreement may not be terminated by Consultant except by breach of this
Agreement by Client, to include nonpayment ef fees within 30 days of invoice
which is not cured within fifteen {15) days following Cliant’s receipt of
Consultant's involce. 1:

¢. Changes to the approved plans without Client's authorization will be grounds: for
terminating this Agreement.

be d. In the event this Agreement fs terminated, all finished or unfinished documents, data,
drawings, models, photographs, reports, or other material prepared by the Consuttant *

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4 under this Agreement shall become eligible for any intended use by Clent, and
Joe Consultant shall be entitled to recelve just and equitable compensation for work
uae compieted on such documents and other materials. Ail plans, documents, comments
from agencies, and notes become eligible for any use by Cilent jn retum for the
compensation received Client Is to receive from Censullant a hard copy and an
electronic format copy of all work performed by Consultant for Client regarding lhe
Project for the cost of duplication and reasonable personnel time.

20 Assiqnabillty:: Consultant shall not assign thts Agreement or any portion thereof or any
of its rights or obligations hereunder without the expressed written consent of the Cilent. is
ss

24. ank:

a. Consuitant shall provide Cilent with a monthly slatement of faes and expenses by tha
4st of each month for payment on the 24% of the same month, Statements received
after the 1st of each month will be paid as if submitted the folowing month. Partial
payment to the Consultant shall not be construed as approval or acceptance of work
fumished hereunder.

b. Fees and expenses described herein are not to exceed the fees as set forth In
Exhibit “B" without ihe prier written approval of the Client. Cllent shall have no
 llability for payment of sald fees should they exceed fees as set forth In Exhibit “8”
without the prior written approval of the Client. All fees exceeding the amounts
agreed to herein will be approved by beth Clent and Consultant prior to the
commencement of services

cs. Consultant shall pay alf lens {including beneficial use liens), claims, charges, or other :
Impositions of any nature or kind imposed upon Consultant or arising cut of or In i
connection with the services perfonned or materials provided for hereunder and shall :
hald harmless and indemnify Client there from. Cent reserves the right to pay any i
jlens that are imposed as a result of any work performed by sub-consultants of :
Consultant. Consultant shall reimburse Client for such payments. The fees in this
proposal do pot include any faxes, if any, wheather local, state, or federal on
professional services, including but nol limited to sales bax. The amounts of any
taxes will be added fo the professional service fees as they ara invoiced and will be
identified as such.

4 d. To the extent Consultant's services have not met the Standard of Care as written In

. Paragraph 3, Consultant shall ba held responsible for errars in the field created by
Cansidtant’s negligent designs (as determined by due process). Consultant shail be
informed of errors immediately upan discevery and shall have ihe right to make
adjustments to the plans in order to cowect the error. Consultant shail nave the right . :
to review the costs submitted by the contractor for the remedy prior to '
commencement .

22 Notics, Any notice In this Agreernent shall be In writing and shail be effective upon
personal dellvery, certified mailing retum receipt requested when deposited in the United
States mall, or upon confirmed transmission by telegram, cable, telex, or a facsimile.

23. Entire Agreement: This Agreement contains ail the terms, conditions, ard provisions 1
hereof creating the understanding: and representations of the pariles relating thereto - °
regarding this Project. All such prior written and/or oral proposals, representations,
. understandings, and discussions are superseded by this Agreement. This Agreement . in
\ : may snly be modified or amended by further weltten agreement executed by the parties Et
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24, Authority: Each of the undersigned signatories declare and represent that they are duly
authorized ta sign thls Agreement and bind each of the parties herate to all the tenms and
conditions as outlined herein.

25. Binding Effect: Thle Agreement shall be binding upon the heirs, personal
representatives, successors, and/or assigns of the Consultant

26. Return of Agreament:; Consultant shall execute and retum this Agreement within five

{5} calendar days from the date of the Agreement. Consultant shalt not commence wih

services and/or work prior to recelpt of a fully executed Agreement. Consultant shall be

. due no payments for work cornpleted untll both parties have fully executed this
4 : Agreament, :

IN WITNESS WHEREOF, the parties herete have executed this Agreement on the day and
year written above.

«Stanlay Consultants, Ings
«6826 8. Eastern Avenue, Suita 100s
«Las Vegasn, ¢NVp, «894108 ”
Phone «({702) 369-9396»
Fax «(702} 3969-57930

Rhodes Homes Arizona

2215 Hualapal Mountain Road, Suite H

Kingman, Arizona 86401

Phone; (928) 718-2210

Fax: (928) 718-1922
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odes Hol t siqhatures are rei

David Frohnen, P.E.
vice Ppegttayt-

Paul Huygens, Dir. Of Finance’ Date

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Exhibit “A”

SCOPE OF SERVICES

1 GENERAL CONDITIONS OF THE SCOPE OF SERVICES

41. SITENAME _ Golden Valiey Ranch —Phasa 1: Pods 4,2, and 3 (800 ijots total} -

2. SITE DESCRIPTION
a. APN Number NA
b. Acres Portlons of 669 Total Acres
c. Notable Boundaries South of Shinarump Road { Aztec Road

d. Client's Parcel Number N/A

3. REIMBURSABLE EXPENSES

A budget amount has been set for relmbursable expenses (See Exhibit B — Schedule

of Values) Reimbursable expenses include such Items as courier service, mileage,

reproduction costs, etc... Any and all fees required to be paid to government

agencies, quasi-government agencies or utility agencies are, NOT considered

reimbursable expenses and wif be pald by check provided by Client. These

fens , payments will be scheduled by Consultant and outlined in Exhibit “C*, Time of

i Ma Completion, giving expected dates when payments will be required and expacted
: amounts of checks needed

Extra cllent requests above and beyond base expenses will be relmbursable by the
client af the direct cost. Consultant's direct cost for extra reimbursable requests will
include third party changes, mileage and reasonable direct labor charges for
additional defiveries or preparation of additional project document copies.

4. ‘MEETINGS
a. Consuitant is required t) attend at least one weekly meeting at client's offica to
” give a project update.

oN
4 b. Consultant fs required to atfend afl public hearings and government agency

; . theetings that pertain to the project,

i, PRELIMINARY ENGINEERING SERVICES

1, BOUNDARY & TOPOGRAPHY MAP — NOT INCLUDED

2 ALTA SURVEY - NOT INCLUDED

3. ZONING, WAIVERS, VARIANCES, ETC.
Prepare applications for all "LAND USE" changes required to entitle the subject
properly as noted herein. This shall include, but not be limited to, zoning, walvers,
variances, vacatlons, use permits, atc.

\ 4. SITE PLAN - NOT INCLUDED

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PRELIMINARY PLAT

Prepare a preliminary plat based upon the final site plan approved by Client. Process
and submit the site map for approval through the applicable agencies Services includa
praparing a preliminary plat which correlates to the final engineered site plan, and
attending submittal meetings

TECHNICAL DRAINAGE STUDY UPDATE . .
The consuliant will prepare a Technical Drainage Study Update, with basic
improvement plans, for submittal to the County. The study wil ba based upon the site
configuration as depicted on the submilted Preliminary Plat. The Constitant will verify
that the study complies to the current County standards.

TRAFFIC STUDY UPDATE
a, Prepare a traffic report that updates the traffic flows and trip generations,
distributions and level-of-service analysis outlined in the Master Traffic Study for
Golden Vailey Ranch, Inchude alf required intersections and counts as required
by the agencies. Submit and process through the applicable agencies for
approval... :
b. Process the analysis through the applicable agencies.

ZONING DISCLOSURE MAP - NOT INCLUDED

STORM WATER POLLUTION PREVENTION PLAN

Prepare, according fo the Arizona Division of Environmental Protection, a storn water
pollution’ prevention plan. This shail include all application(s) and submittal
requirements associated. Services do not include filing of Notice of Termination

79, SALES TRAILER PLAN — NOT INCLUDED

+1. BLOCK WALL HEIGHT VARIANCE — NOT INCLUDED

FINAL ENGINEERING SERVICES

4

GRADING STUDY / ANALYSIS — NOT INCLUDED (SEE SEPARATE CONTRACT).

UTILITY-PLANS
Prepare a master ullity plan depicting topographical varlances within one {1} foot that

‘ show all fot Ines, driveways, streetiights, ‘ire hydrants, water fines, sewer lines, and

street furniture. Provide Client all necessary design plans for wet utilities

UTILITY ANALYSIS
Prepare and provide power need analysis, water and sewer analysis. The appropriate
nurnber of plans will be provided fo Client for submitting and processing through the

required agencles for approval. Review ulility services and advise Cllent of any

additional studies thal may be required for said project. Dry Utility analyses will be
conducted by Client's specialty consultant.

LOT FIT'ANALYSIS — NOT INCLUDED

IMPROVEMENT PLANS

This proposal Is based on preparing fhree (3) sets of improvement Plans far the
project, one for each pod (Pod 1, 2, 3}. Any addiflonal plans or additional phasing of
the project will Da done as an extra service on the Gantract

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} Prepare and process improvement piens for approval for alt on-site Improvements.
; Olfsite improvements Inchiding water, sawer and storm. drain facilities are not Included
in this contract. The improvement plans shall include but not be jimited to:
General Notes and Legend Sheet ~ To Include zights-ol-ways, legal descriptions,
governmental and utility agency males, concrete and asphatt quantities for both public
and privala rights-of-way, and 2 legend of aif symbols and abbreviations referenced
throughout the Improvement plans
a. Grading Pign — Ta Include quantities that reflect cut and fill necessary for biock
- wall footings, streets, pads, and underground utility ovar-building. Ww
b. Master Uitity Plan — To Include focations, ‘specifications and quantities for aii
water mains, water laterals, water meters, sleeving, fira hydrants, sewer mains,
sewer laterals, manholes, streetlights, pult boxes, electrical candulls for street
lights and streetlight service point lacations.
ce, Street Plan & Profile Plans — To include profiles of underground ufilities, rim
elevations and invert elevations, as well as ihe centertine- profite and the top of
curb elevations in transition areas and at Intersections.
¢, Signage & Striping Plan — To include locations, specifications and quantities for
all signage and striping, for both public and private rights-of-way.
f Detail Sheet — To include all details referenced througheut Improvement plans.

6. BLOCK WALL PLANS ~ NOT INCLUDED

7. FINAL PLAT Ee
Constant shall prepare and process through all the applicable agencies, 3 final plats
associated with Pods 1, 2 & 3 of project ta record the final map according to the
schedule set forth In Exhibit “C*, Time of Campletion. This proposal is based on
preparation of three (3) final map. The basis of final lots is 800 SFR units.

8 PLOT PLANS ~ NOT INCLUDED

3, QUANTITY AND BUDGET COST ESTIMATES
Consultant will provide fnpul data for quantities and submit information in excel format
to Cilent to assist Client with preparing project budgets and improvement bonds i

10, BLOCK WALL STRUCTURAL DETAILS - NOT INCLUDED

_

. MEETINGS, SCHEDULES, PROCESSING AND PROJECT MANAGEMENT
Consullant will attend weekly progress meetings as required to process the project with
fhe Cltent. Schedules and reasonable updates will be provided to Client Consultant
will process study, map and Improvement Plans submittals with applicable agencies.

“Building Pernit Processing Is EXCLUDED.

42. EXPENSES . :
See Section 1.3. of this Scope of Services. it

13. ADJUSTMENTS
Adjustments will be made to the Schedule of Values for Client, Agancy, or Market
driven changes.

I¥. GONSTRUCTION STAKING (ON-SITE)

a _ . The basis for this proposal Is from the Preliminary Plat depicting 800 Single Family
Ge, Residential Lots. Deviations from this basis wil require modifications to the scope and foe
: for Construction Staking Services.

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Horizontal and Vertical Control
Consultant will field verify the horizontal and vertical data provided by the Ctient and
report any discrepancies found

The Cllent will provide the latest AutoGAD disk and two (2) sets of the current sporoved ~

eWil, architectural, and/or structural plans required to provide construction survey
services. Any additional plans ar revisions to the approved plans will be made avaliable
to SCI within 24 hours of approval of such plans.

Rough Grade
Two stakes will be set on each property tine for grading, one at 10° back of curb for
grading of the pads and streets with one at the rear properly corner for grading of the
pads.

Blue tops for Pads :
Set two stakes at each property IIne for vertical contre! of ihe bullding pad

: Pad Verification

Measure the elevation of the pad after gradiig is completa

Utility Services
Provide one (1} stake at each property fine with an offset to the back of curb.

Sanitary Sewer Lines

. Provide stakes at offsets to all manholes and at 50° intervals between manholes.

Fire Hydrants/Waterlines
, Fire hydrants will be staked using two (2) stokes per hydrant for horizontal and vertical
control
Set offsets for waterline al 400 foot stations, grade breaks and angle points,

Building Layout — Nat inelurted

Wall Layout
Set offsets to Property Line at 50° statians with elevations to facting steps.

Curb and Gutter
Set offset stakes at the beginning and end of curb retums; at approxiinately 50° statlons
or the [ot lines and at the beginning and end of curves

Redheads for Street Subgrade
Set redhead stakes at back of curb line and centeriine, corresponding with the Curb and
Gulter stakes.

Blustops for Finished Gravel In Streets ‘
Set grade stakes on crown line at approximately 50° stations.

Final Front Property Lines
Saw cut top of curb for projected frent property lines.

Final Rear Property Corners
Set hub and tag af comer or nail and tag on the projected property fine for all rear
property comers,

te Final Street Monuments
Set final monuments per plat map. (Where concrete monuments or well monuments are

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required, SCI will provide control for developer to install monuments}.
}
: V. . CONSTRUCTION STAKING (OFF-SITE) — Not Included
vi. TIE-INS/FORM BOARD/FINISH FLOOR CERTIFICATION — NOT INCLUDED
Vil, SCREEN WALL STAKING — NOT INCLUDED
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Exhibit “B*

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SCHEDULE OF VALUES
It__ Preliminary Engines Services
1. Boundary & Topography Map Not Included
2. ALTA. Survey Not Included
* 3 Zoning, Walvars, Variances, Etc. $51,000
4, Site Plan (aP lang) Not licluded
5. Praliminary Plat wiprocessing (3 Plats) . $45,009 .
@ Technical Dralnage Study f ‘ te 580,000 ‘
Proiiminary Grading Plea wiprocessing {3 TOS}. - +" "
Y. Traffic Study ( TS) $10,000
8. Zoning Disclosure Map Not Included
9 Storm Water Prevention Plan (3) $9,000
10, Sales Traller Plan (2 Sites) Not Included
71, Block Wall Helght Variance Not Included
$474,000
Final Enel Services
1. Grading Study / Analysis Not Included
2. Utility Plans. $45,000
3. Ulitity Anatysla $30,000
4, Lot Fit Analyals Not Included
6. Improvement Plans $480,000
6. Block Wall Plans Not included
7. Fina! Plat w/proc. $65,000
&. Plot Plans Not included
9. Quantity and Budget Cost Estimates $20,000
10 Block Wall Structural Details Not Included
41. Maotings, Processing, Schedules $76,000 .
12. Reimbursable Expenses (Base amount inckaded In lump sum) $26,000 ‘
$740,000
IV, Construction Staking (On-Site) i
H&VGontrol - :
Rough Grading .
Buliding Pads and grada verifications :
Sewer Lines :
Uitlides (storm sewers, electric vatilis) i
Water Linas, Hydrants be
Building Envelopes :
Curb & Gutter i
Watts
Final Monumentatton ;
$480,000 is
V, Construction Staking (Off-Site} Not included
Vi. Tletns / Form Board / Flalsh Floor Certification Not included
Vil, Scraan Wall Staking Not fachedect
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TOTAL LUMP SUM CONTRACT PRICE: $1,394,000
Additfonal Requests for Reimbursable Epanses (T&M) — inital Budget $10,000
TOTAL CONTRACT AMOUNT: $1,404,000.00

Exclusions:

Services rendered outside this scope of services wit be performed on a Time and Materials basis
atthe rates shown on the attached Standard Charge Rate Fee Schedule. The Consultant shall
not conduct additional services without prior written authorization from the Cllent. The following Is
a partial fist of the exclusions applicable to the included Scape of Services.

" Revisions to plans under design due to a change in information or design requirements
provided Consultant by others (Client, Client’s other Consultants, regulatory agencies’
poilcy changes in standards}

» Dry Ultitfly Designs and Coordination (power, gas, telephone, cable} (alher than fisted
herein)

«Landscape Plans and irigation Plans

* Acquisition of off-site easements

* Traffic Signal! Plans

= Soits/Gectechnica! consulting, pavement sections designs, and subdrainage systems |

"  Potholing foo

*  Hydrautic Flow Yests and calculattons will be performed by others If required .

: * Analysis of water and sewer systems serving areas adjacent to the proposed Project, 1 e.,

j the preparation of regional or subregional analysis is not included

. * Channel Design

* Structural catculations and/or designs are not Included, |.6., retaining walls, buildings,
drainage structures, etc.

Entiflement services (other than those spectfically listed)

Lot jine adjustments, EIR appiications .

Planning exhibits, and use applications, and/or overlays (except as noted) ;

FEMA submittals and/or coordination (excep! as noted) - :

New conditions as a zesult of new zoning

Utility Easements other than spectfically identified heraln

Retaining/screen wall design and specifications : .

Legal Descriptions and Exhibits other than specifically Identified herein i

Off-Site Street Improvements other than specifically listed bareln :

Vacations of dedicattons other than those listed herein

Field Engineering/Construction Administration meetings

Hardscape and landscape plans

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Exhibit "C”

TIME OF COMPLETION

Engineering Schedule:

(See Project Schedule}

Survey Schedule:

Time of completion Is determined by Client for which Consultant will provide Its services
on an “on-call” basis

Client must make ail staking requests 48 hours in advance.

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Exhibit “pb”

RHODES HOMES ARIZONA ~
2215 Hudlapal Mountain Road, Sulte #
Kingman, Arizona 86401
(928) 7182210 Phone
(928) 713-1322 Fax

Change Order

Change Order #:
Cllent: Rhodes Homes Arizona
Consultant: Stanley Consultants, Inc.
Project Name: Golden Vallay South — Major Off-Site Infrastructure
Description of Work: Civil Engineering & Construction Steking
Consullant Agreement Date: 712212005

Contract#: = *

This Change Order is made this day of by and between

Rhodes Homes Arizona and : for the following changes In work:

{Describe changes in work required, reasons for the change, and associated cosis of sald

. change.)

Owner agrees te pay for alt changes, IF approved and required for the satisfactory completion of
the work, performed by the Cansuftant under this Change Order according to the terms of the
Consultant Agreement. The amount paid by fhe Owner shall be full compensation far ail work
requested and for all effect of this document on the work. The change, if any, In the Contract
Price shail be computed according to one of the following methods: |

{Check method appropriate to the requested Change Order) ©
7. No Change ,
2. Costs Plus a Fee 5

3 Unit Price $

4 Lump Sum of 5

if hems 2 or 3 are marked, Censultant shall submit promptly to Cilent such itemized Jabor ‘and
material breakdown as Client may require for work performed or deleted from the Consultant

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Agreement by this Change Order. The Consultant shail include the cost of such change in Its
next application for payment In a separate jine Item

The change, if any, in tha Project Schedule resulting from the work requested by the Change
Order shall be determined according to the tarms of the Consuliant Agreement and allows for

* (check as appropriate)____s an addition __ a deletion of {__} days.

The undersigned agree to the changes, additions, modifications, or revisions In the work and, if
warranted by the Change Order, an adjustment in the Contract Price or the Client's Project
Schedule or the terms and conditions of the Contract Documents Issued on or after the effective
date of the Cansultant Agreement. :

Stantey Consultants, Inc. Rhodes Homes Arizona
Authorized Signalure Authorized Signature
Print Name ’ Print Name

* Tithe Title
Date - Date

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